           Case 1:15-cv-01380-KBJ Document 60 Filed 04/30/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ELBERT L. BROWN, et al.,                     )
                                             )
              Plaintiffs,                    )
                                             )
      v.                                     )    No. 15-cv-1380 (KBJ)
                                             )
GOVERNMENT OF THE DISTRICT OF                )
COLUMBIA,                                    )
                                             )
              Defendant.                     )

                                         ORDER

       Before this Court is Plaintiffs’ motion for leave to file a Fifth Amended

Complaint. (ECF No. 57.) Among other changes, Plaintiffs’ proposed amended

pleading deletes all allegations pled in the alternative, deletes both of Plaintiffs’ Fourth

Amendment claims, reorganizes Plaintiffs’ remaining First Amendment claims, and

adds a new plaintiff. Defendant opposes Plaintiffs’ motion. (See ECF No. 58, at 2

(arguing, inter alia, that “plaintiffs have repeatedly failed to cure basic deficiencies”

through their numerous amended complaints; “the[] proposed amendments are futile”;

“the proposed amendments would cause undue delay”; “plaintiffs should not be

permitted to re-litigate previously identified legal issues”; and “allowing additional

amendments would prejudice the District”).)

       The Federal Rules establish that leave to amend a complaint should be “freely

give[n] . . . when justice so requires.” Fed. R. Civ. P. 15(a)(2). This Court fully

recognizes that Plaintiffs have had several prior bites at this apple, in a manner that is

justifiably frustrating to Defendant. However, the instant motion to amend will be

granted, because amending the complaint to strike the Fourth Amendment claims, delete
           Case 1:15-cv-01380-KBJ Document 60 Filed 04/30/18 Page 2 of 2



all allegations pled in the alternative, and generally clarify Plaintiffs’ factual

allegations and legal theories unquestionably aids the Court in determining whether the

remaining claims can survive a motion to dismiss. That said, this will be the final

amendment to the complaint that Plaintiffs are permitted to make, and Defendant will

have the opportunity to streamline its motion to dismiss such that it addresses only

those claims that Plaintiffs now seek to prosecute. Ultimately, then, both the amended

complaint and a revised motion to dismiss will benefit all concerned.

         Accordingly, it is hereby

         ORDERED that Plaintiffs’ [57] Motion for Leave to File a Fifth Amended

Complaint is GRANTED. In light of this ruling, and because this Court finds that

Plaintiffs’ amendments materially impact the arguments raised in Defendant’s pending

motion to dismiss, it is

         FURTHER ORDERED that Defendant’s [48] Motion to Dismiss is DENIED

WITHOUT PREJUDICE, as moot. Defendant may refile its motion to dismiss (with

any changes needed to make the motion directly responsive to Plaintiffs’ Fifth

Amended Complaint) on or before May 31, 2018. Plaintiffs’ opposition, and

Defendant’s reply, if any, may be filed within the timeframe prescribed by the Federal

Rules.

DATE: April 30, 2018                              Ketanji Brown Jackson
                                                  KETANJI BROWN JACKSON
                                                  United States District Judge




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